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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

____________________________________
                                    §
UNITED STATES OF AMERICA,           §
                                    §
                  Plaintiff,        §
v.                                  §
                                    §                      Civil No. 1:21-cv-796
THE STATE OF TEXAS,                 §
                                    §
                  Defendant.        §


                              UNITED STATES’ MOTION TO STAY
                               DISTRICT COURT PROCEEDINGS

        On October 22, 2021, the Supreme Court granted a writ of certiorari before judgment to

consider whether the United States can “bring suit in federal court and obtain injunctive or declaratory

relief against the State, state court judges, state court clerks, other state officials, or all private parties

to prohibit S.B. 8 from being enforced.” United States v. Texas, No. 21-588, 2021 WL 4928618, at *1

(U.S. Oct. 22, 2021). The Supreme Court set oral argument on that question for November 1, 2021.

Id. In light of this development, the United States respectfully requests that this Court stay further

proceedings in this case pending the Supreme Court’s resolution of that question.

        As explained below, conducting further proceedings in this Court while the Supreme Court

considers the threshold jurisdictional issues presented in this case could result in duplicative parallel

proceedings. A stay of these proceedings would promote efficiency and avoid burdensome discovery

or merits proceedings, conserve judicial and party resources, and allow the Court and the parties to

proceed with the benefit of the Supreme Court’s reasoning on the threshold question of jurisdiction

and the scope of the injunction.

        Counsel for the United States reached out to opposing counsel to discuss a stay on Monday,

October 18 and again on Saturday, October 23, and Monday October, 25. Mr. Stilley is unopposed.
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Counsel for the State of Texas indicated that they are unopposed to a stay pending the Supreme

Court’s ruling on the United States’ Application for a Stay. Counsel for Defendant-Intervenors

initially indicated that they were opposed to a stay unless the United States agreed to discovery;

however, counsel did not respond to the United States’ later request for a stay pending resolution of

the writ of certiorari.

                                          BACKGROUND

        This Court rendered a lengthy and well-reasoned opinion granting the United States’ motion

for a preliminary injunction and enjoining enforcement of S.B. 8. See Dkt. 68. Specifically, this Court

concluded that: (1) the United States has authority to seek equitable relief to protect its sovereign

interests—including its interest in ensuring that federal law remains supreme and in the availability of

mechanisms for judicial review; (2) the United States is likely to succeed on the merits because S.B. 8

is clearly unconstitutional; (3) allowing S.B. 8 to remain in force would irreparably harm the United

States’ interests and perpetuate the ongoing irreparable injury to the thousands of Texas women who

are being denied their constitutional rights; and (4) Texas would suffer no harm from a preliminary

injunction barring enforcement of a plainly unconstitutional law. Id.

        Texas and Defendant-Intervenors Tuley, Graham, and Sharp appealed that order and moved

for a stay in the court of appeals. Dkts. 69, 70. Defendant-Intervenor Stilley did not appeal. 1 In their

stay motions, Defendants primarily contested the United States’ authority to bring this suit. United

States v. Texas, No. 21-50949 (5th Cir. 2021). A divided Fifth Circuit panel stayed this Court’s

preliminary injunction solely for “the reasons stated in” two decisions addressing a prior challenge to

S.B. 8 brought by private plaintiffs, Whole Woman’s Health v. Jackson, 13 F.4th 434 (5th Cir. 2021), and




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           The United States refers to the State of Texas and Defendant-Intervenors Tuley, Graham,
and Sharp as “Defendants” for ease of reference. Mr. Stilley is not opposed to this motion and thus
is not included when Defendant-Intervenors are referenced.
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Whole Woman’s Health v. Jackson, 141 S. Ct. 2494 (2021). See United States v. Texas, No. 21-50949 (5th

Cir. October 14, 2021) (per curiam). The United States filed an emergency application with the

Supreme Court to vacate the Fifth Circuit’s stay and suggested that the Court could construe the

application as a petition for a writ of certiorari before judgment and set the case for briefing and

argument this Term. United States v. Texas, No. 21A85, Application to Vacate Stay (U.S. Oct. 18, 2021).

On October 22, the Supreme Court construed the application as a petition for a writ of certiorari

before judgment and granted it limited to the following question: “May the United States bring suit in

federal court and obtain injunctive or declaratory relief against the State, state court judges, state court

clerks, other state officials, or all private parties to prohibit S.B. 8 from being enforced.” United States

v. Texas, 2021 WL 4928618, at *1. The Supreme Court deferred consideration of the application to

vacate the Fifth Circuit’s stay pending oral argument, set for November 1. Id.

                                             ARGUMENT

        This Court possesses inherent power to stay proceedings in cases before it, “including when a

pending ruling from a higher court may affect the case at hand.” Bilberry v. JPMorgan Chase Bank, N.A.,

No. 1:20-CV-470-RP, 2021 WL 536440, at *2 (W.D. Tex. Jan. 13, 2021) (citing Landis v. N. Am. Co.,

299 U.S. 248, 254–55 (1936)). A court may stay a case pending appeal in the interest of “economy of

time and effort for itself, for counsel, and for litigants.” Landis, 299 U.S. at 254. The exercise of this

power is especially important “in cases of extraordinary public moment” where a party “may be

required to submit to delay not immoderate in extent and not oppressive in its consequences if the

public welfare or convenience will thereby be promoted.” Clinton v. Jones, 520 U.S. 681, 707 (1997)

(quoting Landis, 299 U.S. at 256). In considering whether to “stay a case pending a higher court’s

decision, the Court considers ‘(1) whether a stay will unduly prejudice or present a clear tactical

disadvantage to the nonmoving party, (2) whether a stay will simplify the issues in question and trial

of the case; and (3) whether discovery is complete and whether a trial date has been set.’” Bilberry,

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2021 WL 536440 at *2 (quoting Dwyer v. USAA Savings Bank, No. 5:17-cv-252- FB, 2017 WL 7805760,

at *1 (W.D. Tex. 2017)). A stay pending appeal is appropriate even if the appeal will “not settle every

question of fact and law.” Landis, 299 U.S. at 254. Rather, all that is required is a finding that a

decision in the appealed case would present substantially similar issues. Id.

        This Court and other courts within this circuit routinely exercise their discretion to stay district

court proceedings to promote judicial economy when the decision in a case pending before a higher

court will affect those proceedings. See Bilberry, 2021 WL 536440, at *2 (granting stay pending the

outcome of Supreme Court decision “given the likelihood that the Supreme Court’s decision

in Duguid will affect the instant case, the lack of undue prejudice to Bilberry, and the interests of judicial

economy and consistency served by a stay”); ING Bank N.V. v. M/V Bulk Finland, No. 2:15-cv-5975,

2017 WL 2798469, at *2 (E.D. La. June 28, 2017) (“Granting a stay pending the resolution of [a] Fifth

Circuit case, . . . will conserve the Court’s resources and prevent the parties from engaging in

unnecessary appeals or undertak[ing] unnecessary discovery and pretrial actions.”); Defense Dist. v. Dept.

of State, No. 1:15-cv-372-RP, Dkt. 66 (W.D. Tex. 2015) (granting stay after interlocutory appeal of

preliminary-injunction proceeding because the issues “are sufficiently intertwined” to those presented

in pending appeal); Greco v. Nat’l Football League, 116 F. Supp. 3d 744, 761 (N.D. Tex. 2015) (finding

that “the interests of the parties, and appropriate conservation of judicial resources, weigh in favor of

granting a stay” where “[t]he issues [on appeal] will very likely bear on this case”); Eaton Vance

Municipals Tr. v. Conegie, No. 4:6-cv-117, 2007 WL 1484539, at *1 (N.D. Miss. May 18, 2007) (“While

the pending appeal does not preclude this Court’s consideration of the issues raised by defendant’s

Motion to Dismiss, the Court concludes that the interests of judicial economy and efficiency militate

in favor of a stay.”). Here, such considerations justify the requested stay.




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        1. The issues before this Court will be affected by the Supreme Court’s decision on a
           threshold issue in this case.

        A stay pending the Supreme Court’s resolution of the question on which it granted certiorari

will serve the interests of judicial economy and efficiency, Landis, 299 U.S. at 254, as the Supreme

Court’s resolution of that question will “simplify the issues” before this Court. Bilberry, 2021 WL

536440, at *2.

        The Supreme Court’s decision will likely provide this Court with dispositive guidance on some

or all of the issues presented by this case. The Supreme Court is now considering many of the

arguments Defendants made in opposition to the United States’ preliminary-injunction motion, and

the same arguments they made before the Fifth Circuit and the Supreme Court in opposing a stay of

the preliminary injunction, including arguments about jurisdiction, the likelihood of success on the

merits, and the scope of the injunction. Compare Dkt. 43 at 1–30 (jurisdictional arguments) with United

States v. Texas, No. 21A85, State of Texas Br. at 12–22 (U.S. Oct. 21, 2021) (same); id., Intervenors Br.

at 13–32 (U.S. Oct. 21, 2021) (same). This includes whether and to what extent the Fifth Circuit’s

previous opinion about the provider suit governs this case. See United States v. Texas, No. 21A85, State

of Texas Br. at 1–2 (U.S. Oct. 21, 2021) (relying on the Fifth Circuit’s opinion in Whole Woman’s Health

v. Jackson); Intervenors Br. at 13–18 (same).

        It makes little sense for this case to move forward and for the Court to expend judicial time

and resources when the Supreme Court is considering a threshold jurisdictional question that is also

presented here. 2 Cf. Rezko v. XBiotech Inc., No. 1:17-cv-734-SS, 2017 WL 4544683, at *1 (W.D. Tex.

Oct. 6, 2017) (granting stay because Supreme Court decision was “likely to clarify and resolve the

parties’ jurisdiction dispute”). A stay would thus “conserve litigation costs for the parties by potentially



        2
          For these same reasons, discovery should not proceed in this case while that issue is pending
in the higher courts. See id. (finding that the Supreme Court’s decision would inform “the parameters
of discovery”); see also Dwyer, 2017 WL 7805760, at *2 (same).
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avoiding needless motion practice, if not a trial and appeal, before the Supreme Court clarifies the

applicable law.” Bilberry, 2021 WL 536440, at *2. This factor counsels in favor of a stay.

        2. The stay will not prejudice the Defendants.

        Defendant-Intervenors contend that discovery should proceed while the Supreme Court

decides a threshold jurisdictional issue. Defendants have not identified any reason why discovery

would be unavailable at the conclusion of the Supreme Court’s proceedings. Indeed, it is puzzling

that the parties who contested the jurisdiction of this Court and the authority of the United States’ to

bring this suit are unwilling to allow those issues to be resolved before engaging in resource-intensive

discovery. Because a stay would not prejudice the Defendants, this factor also counsels in favor of a

stay.

        3. This case is in the earliest stages.

        Because this case is at an early stage, a stay is appropriate. Although the Court already denied

Defendants’ motions to dismiss, the parties have not held a Rule 26(f) conference, and this Court has

not entered a scheduling order setting deadlines in the case. See Fed. R. Civ. P. 26. 3 See Bilberry, 2021

WL 536440, at *2 (entering stay where “case is not nearing the end stages”); Dwyer, 2017 WL 7805760,

at *2 (granting stay and noting “that this case is in its infancy and no Scheduling Order has been

entered or trial date set”). Accordingly, a stay will not disrupt any schedule in this case while the

Supreme Court resolves the threshold jurisdictional issues.




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           Attorneys for the State of Texas appeared on September 16, 2021. Under Rule 16(b), this
Court must issue a scheduling order 60 days after any defendant has appeared: November 15, 2021.
Fed. R. Civ. P. 16(b). The parties would be required to conduct a Rule 26(f) conference by October
25, 2021. If a stay is not granted, the United States requests a 60-day extension of the Rule 26(f)
deadlines.
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                                           CONCLUSION

       For these reasons, the United States respectfully requests that the Court enter a stay of all

proceedings in this matter pending the Supreme Court’s decision on the United States’ writ of

certiorari. The United States further suggests that the parties file a JSR within seven days after the

Supreme Court’s resolution of that writ.

Dated: October 25, 2021                               Respectfully submitted,

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                               CERTIFICATE OF CONFERENCE

        I certify that I conferred via email with counsel and parties of record regarding the relief

requested in this motion. Mr. Stilley is unopposed. Counsel for the State of Texas indicated that they

are unopposed to a stay pending the Supreme Court’s ruling on the United States’ Application for a

Stay. Counsel for Defendant-Intervenors initially indicated that they were opposed to a stay unless

the United States agreed to certain discovery; however, counsel did not respond to the United States’

later request for a stay pending resolution of the writ of certiorari.

                                                                  /s/ Lisa Newman
                                                                  Lisa Newman



                                   CERTIFICATE OF SERVICE

        I certify that a copy of this filing was filed electronically, and that all counsel and parties of

record were served by CM/ECF.

                                                                  /s/ Lisa Newman
                                                                  Lisa Newman




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